Case 1:05-cv-01186-.]DT-STA Document 7 Filed 08/08/05 Page 1 of 3 P_ap;|D 8
_ 363 §/

 

IN THE UNITED sTATEs DISTRICT CoURT `¢9 \"\O
FoR THE WESTERN DISTRICT oF TENNESSEE 6?{» .¢ ’°/?¢_ 'Q
EASTERN DIvIsIoN ha ,». ’0_9
_ ;a»,`c)¢’,(;j',{,
- ¢if%y w
TABITHA N. wEBB, ) 6323 /_
)
Plaintiff, )
)
vs. ) No. 05-]186 T/An
)
DAVID L. wooLFoRK, )
)
Defendant. )

 

ORDER DENYING MOTION TO RECUSE

 

Before the Court is Plaintiff’s Motion for Change of Venue filed on Ju]y 5, 2005. Within
the Motion to Change Venue is a Motion for the Undersigned to recuse himself from this matter.
The Courl held a hearing on this matter on August 2, 2005. At the hearing, P]aintiff announced
that she was withdrawing her request that the Undersigned recuse himself; therefore, the Motion
to Recuse is DENIEI) as moot.

Prior to her announcement that she was withdrawing the motion, the Court examined
Plaintiff. Tabitha Webb stated that Ms. Sandra Webb (“Ms. Webb") contacted an attorney by
telephone who was briefly associated with the law firm formerly owned by the Undersigned
(“Anderson Law Firm, PLLC”), and Ms. Webb requested information and advice conceming a
lawsuit that was pending in late 1999 or early 2000 in which she was a defendant However, Ms.
Webb did not employ the attorney and subsequently retained an attorney not associated with
Anderson Law Firm, PLLC to represent her in the matter. ln that the Undersigned has no

recollection of the attorney ever discussing Ms. Webb's matter with him and has no independent

This document entered on the docket sheet in compliance

with sure 53 and,'or_79 (a) FncP on !)8- Q§{ §§ ®

Case 1:05-cv-01186-.]DT-STA Document 7 Filed 08/08/05 Page 2 of 3 Page|D 9

knowledge or information about the matter, there is no basis from which an objectively
reasonable person would conclude that the Undersigned could not discharge his duties in this

matter in a fair and impartial manner. Therefore, recusal is not appropriate in this situation

<§. 7/;;))4¢15 Jp&m)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: 575 ZOOJ/

   

ssEE

:\
mb
U..
cn‘?
§
H¢l
m
ml.
20
m|l
H
5
O>
H
O
C
75
H
2
mb
m.,
H
§
Z
§
m
H¢
E
O¢
H
O
"1']
H:
§

Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 1:05-CV-01186 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Tabitha N. Webb
PO Box 1451
Jacl<son, TN 38302

Honorable J ames Todd
US DISTRICT COURT

